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                      THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
CITIZENS UNITED                      )
1006 Pennsylvania Avenue, S.E.       )
Washington, DC 20003                 )
                                     )
                    Plaintiff,       )
                                     )    Civil Action No.
v.                                   )    1:18-cv-01446-EGS
                                     )
                                     )
U.S. DEPARTMENT OF JUSTICE           )
950 Pennsylvania Avenue, N.W.        )
Washington, DC 20530                 )
                                     )
                    Defendant.       )
____________________________________)


                JOINT STATUS REPORT AND SCHEDULING PROPOSAL

       Pursuant to the Court’s August 2, 2018 Minute Order, the Parties submit the following

 status report and scheduling proposal.

                 JOINT RESPONSES TO THE AUGUST 2 MINUTE ORDER

Topic 1. The status of Plaintiff’s FOIA request:

       The Department of Justice’s Office of Information Policy (OIP) has initiated its search

and is waiting for its IT team to return a pull of potentially responsive records. Once OIP

receives this pull of potentially responsive records, it will then conduct a preliminary

responsiveness review, after which time OIP will be prepared to provide Plaintiff additional

information. The parties propose that they file a joint status report no later than Friday,

September 14, 2018, which will include any updates about the status of Plaintiff’s request.



Topic 2: The anticipated number of documents responsive to plaintiff’s FOIA request:
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          Until OIP receives a pull of records from its IT team, OIP is unable to estimate the

volume of potentially responsive records. Once OIP receives this pull of records and conducts a

preliminary responsiveness review, OIP will be prepared to share with Plaintiff the volume of

potentially responsive records, as well as an estimate of the time needed to process this material.

OIP plans to provide an update on the status of this search in the September 14, 2018 joint status

report.



Topic 3: The anticipated date(s) for release of documents responsive to Plaintiff’s FOIA
request:

          Once OIP receives its pull of records and conducts a preliminary responsiveness review,

OIP will be able to propose a production schedule for responsive, non-exempt records, if any.



Topic 4: Whether a motion for an Open America stay is likely in this case:

          If the parties are unable to agree to a proposed schedule, OIP plans to file an Open

America stay no later than October 5, 2018.



Topic 5: Whether a Vaughn index will be required in this case:

          Once production is completed, the parties will confer and determine whether there are

outstanding issues that need to be resolved by the Court and, if so, they will discuss a proposed

schedule for briefing and submission of a Vaughn index if appropriate. They will submit a joint

status report no later than 30 days after the completion of production.


Topic 6:      Whether this case would benefit from referral to a magistrate judge or the District
Court Mediation Program for purposes of settlement:

          The Parties do not believe that this case would benefit from such a referral.

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Topic 7: A proposed briefing schedule for dispositive motions, if applicable:

       Once production is completed, the parties will confer and determine whether there are

outstanding issues that need to be resolved by the Court and, if so, they will then discuss a

proposed schedule for briefing and submission of a Vaughn index if appropriate. They will

submit a joint status report no later than 30 days after the completion of production.



DATED: August 29, 2018                        Respectfully Submitted,

                                               CHAD A. READLER
                                               Acting Assistant Attorney General
 /s/ Jeremiah L. Morgan
 Jeremiah L. Morgan                            ELIZABETH J. SHAPIRO
 (D.C. Bar No. 1012943)                        Deputy Director
 Robert J. Olson
 (D.C. Bar No. 1029318)                        /s/ Danielle Wolfson Young
 William J. Olson                              Danielle Wolfson Young (TX Bar 4098649)
 (D.C. Bar No. 233833)                         Trial Attorney, Federal Programs Branch
 William J. Olson, P.C.                        U.S. Department of Justice, Civil Division
 370 Maple Avenue, West, Suite 4               20 Massachusetts Avenue, NW
 Vienna, VA 22180-5615                         Washington, DC 20530
 703-356-5070 (telephone)                      Tel.: (202) 616-2035
 jmorgan@lawandfreedom.com                     Email: Danielle.Young2@usdoj.gov

 Counsel for Plaintiff                         Counsel for Defendant




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                                  CERTIFICATE OF SERVICE

        I hereby certify that on August 29, 2018, I electronically filed a copy of the foregoing.

Notice of this filing will be sent via email to all parties by operation of the Court’s electronic filing

system. Parties may access this filing through the Court’s CM/ECF System.



                                                /s/ Danielle Wolfson Young
                                                Danielle Wolfson Young (TX Bar 4098649)
                                                Trial Attorney, Federal Programs Branch
                                                U.S. Department of Justice, Civil Division
                                                20 Massachusetts Avenue, NW
                                                Washington, DC 20530
                                                Tel.: (202) 616-2035
                                                Email: Danielle.Young2@usdoj.gov

                                                Counsel for Defendant




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